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   PROB IZB
   (7/93)

                                    United States District Court
                                                        for
                                           District of New Jersey
                Request for Modifying the Conditions or Term of Supervision
                               with Consent of the Offender
                                 (Probation Form 49, Waiver ofHearing is Attached)

  Name of Offender: Arisma Theodore                                                         Cr.: 05-00482-003
                                                                                        PACTS Number: 43029
  Name of Sentencing Judicial Officer: The Honorable Jose L. Linares

  Date of Original Sentence: 01/08/09

  Original Offense: Conspiracy to Commit Bank Fraud

  Original Sentence: 27 Month Imprisonment; 3 Years Supervised Release

  Type of Supervision: Supervised Release                             Date Supervision Commenced: 02/IS/Il

                                        PETITIONING THE COURT

  I I       To extend the term of supervision for     Years, for a total term of    Years.
  [XI       To modify the conditions of supervision as follows. The addition of the follow
                                                                                           ing special
            condition(s):

        COMMUNITY SERVICE (40 hours over 4 months)

        You shall contribute 40 hours of community service work over a period of 4 month or
                                                                                             s less, from the
        date ofthis signed Order. Such service shall be without compensation, with the specifi
                                                                                               c work placement
        to be approved by the U.S. Probation Office.

                                                    CAUSE
        On November 29, 2011 the offender was arrested by New York City Police Depart
                                                                                             ment for Driving
        While Suspended, and failure to Stop at Stop Sign. The offender failed to notif’ the
                                                                                             probation Office
        within 72 hours of his arrest, and was driving an unreported vehicle.

                                                                     Respectfully submitted,
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                                                                    4   es1ie M. Vargas
                                                                   jjfifi!JJJ.S. Probation Officer
                                                                   ie: 03/22/12
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                                                                                        PROB 12B-Page2
                                                                                          Aiisma Theodore

   THE COURT ORDERS:

   [1 The Modification of Conditions as Noted Above
   [) The Extension of Supervision as Noted Above
   [1 No Action
   [1 Other




                                                                            / ,/             1
                                                                                   I   ‘/1

                                                                            Date
